








NUMBER 13-02-081-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

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LEE WEISHIEMER , Appellant,
v.


THE STATE OF TEXAS, Appellee.

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On appeal from the County Court of Goliad County, Texas.

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O P I N I O N


Before Chief Justice Valdez and Justices Hinojosa and Yañez

Opinion Per Curiam


Appellant, LEE WEISHIEMER , perfected an appeal from a judgment entered by the County Court of Goliad County,
Texas,  in cause number 01-7-7495CR .  Appellant has filed a motion to dismiss the appeal.  The motion complies with
Tex. R. App. P. 42.2(a).

The Court, having considered the documents on file and appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's motion to dismiss the appeal is granted, and the
appeal is hereby DISMISSED.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 14th day of March, 2002 .


